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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

JONATHAN BEHRLE,

       Plaintiff,

-VS-                                                    CASE NO.:

HOVG, LLC d/b/a BAY AREA
CREDIT SERVICE, LLC

       Defendant.
                                                /

                                            COMPLAINT

        COMES NOW Plaintiff, Jonathan Behrle (hereinafter “Plaintiff”), by and through the

undersigned counsel, and sues Defendant, HOVG, LLC d/b/a BAY AREA CREDIT SERVICE,

LLC (hereinafter “Defendant”), and in support thereof respectfully alleges violations of the

Telephone Consumer Protection Act, 47 U.S.C. §227 et seq. (“TCPA”), the Florida Consumer

Collection Practices Act, Fla. Stat. §559.55 et seq. (“FCCPA”) and the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”).

                                          INTRODUCTION

        1.          The TCPA was enacted to prevent companies like Defendant from invading

American citizen’s privacy and prevent abusive “robo-calls.”

        2.          “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct. 740, 745, 181

L.Ed. 2d 881 (2012).




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       3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio v.

State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       4.      According to the Federal Communications Commission (FCC), “Unwanted calls

are far and away the biggest consumer complaint to the FCC with over 200,000 complaints each

year – around 60 percent of all the complaints…Some private analyses estimate that U.S.

consumers     received    approximately     2.4    billion   robocalls    per   month     in   2016.”

https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-robocalls-spoofing.

                                 JURISDICTION AND VENUE

       5.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014)




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       7.      The alleged violations described herein occurred in Pinellas County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                  FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Florida, residing in Pinellas

County, Florida.

       9.      Plaintiff is a “consumer” as defined in Florida Statute 559.55(8) and 15 U.S.C. §

1692(a)(3).

       10.     Plaintiff is an “alleged debtor.”

       11.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       12.     Defendant is a corporation with its principal place of business located at 4145

Shackleford Road, Suite 330B, Norcross, GA, 30093 and which conducts business in the State of

Florida through its registered agent, Corporation Service Company located at 1201 Hays Street,

Tallahassee, FL, 32301.

       13.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

U.S.C. § 1692(a)(6).

       14.     The debt that is the subject matter of this complaint is a “consumer debt” as

defined by Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).

       15.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately ten (10)

times in an attempt to collect a debt.




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       16.     Defendant attempted to collect an alleged debt from the Plaintiff by this campaign

of telephone calls.

       17.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

       18.     Some or all of the calls the Defendant made to Plaintiff’s cellular telephone

number were made using an “automatic telephone dialing system” which has the capacity to

store or produce telephone numbers to be called, using a random or sequential number generator

(including but not limited to a predictive dialer) or an artificial or prerecorded voice; and to dial

such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will

testify that he knew it was an auto-dialer because he heard a pause and then a beep when he

answered his telephone before a voice came on the line.

       19.     Plaintiff believes the calls were made using equipment which has the capacity to

store numbers to be called and to dial such numbers automatically.

       20.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (727) ***-4027, and was the called party and recipient of Defendant’s calls.

       21.     Defendant placed an exorbitant number of automated calls to Plaintiff’s cellular

telephone (727) ***-4027 in an attempt to reach an individual known only as “Marlon Depeda”.

       22.     Plaintiff does not currently know, nor has ever known, an individual by the name

of “Marlon Depeda”.

       23.     Plaintiff does not currently have any account or business dealings with Defendant.

       24.     During the past year, Plaintiff instructed Defendant’s agent(s) to stop calling his

cellular telephone.


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        25.    On or about September of 2018, Plaintiff communicated with Defendant from his

aforementioned cellular telephone number and instructed Defendant’s agent to cease calling.

        26.    Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to place calls to individuals just as it did to the Plaintiff’s

cellular telephone in this case.

        27.    Defendant’s corporate policy is structured as to continue to call individuals like

the Plaintiff, despite these individuals explaining to Defendant they wish for the calls to stop.

        28.    Defendant has numerous complaints against them across the country asserting that

their automatic telephone dialing system continues to call despite being requested to stop.

        29.    Defendant has had numerous complaints from consumers against them across the

country asking to not be called, however the Defendant continues to call the consumers.

        30.    None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

        31.    Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

        32.    From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon his right of seclusion.

        33.    From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the telephone unavailable for

legitimate callers or outgoing calls while the telephone was ringing from Defendant’s call.




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       34.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time.

For calls he answered, the time he spent on the call was unnecessary as he had repeatedly asked

for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflected the unwanted calls.

This also impaired the usefulness of these features of Plaintiff’s cellular telephone, which are

designed to inform the user of important missed communications.

       35.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls

that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.

       36.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff’s cellular

telephone’s battery power.

       37.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone

or network.

       38.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular

telephone and his cellular telephone services.


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        39.     As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by annoyance.

                                            COUNT I
                                     (Violation of the TCPA)

        40.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through thirty-nine

(39) as if fully set forth herein.

        41.     Defendant willfully violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that he wished for the calls to stop.

        42.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against HOVG, LLC d/b/a BAY AREA CREDIT SERVICE, LLC for statutory

damages, punitive damages, actual damages, treble damages, enjoinder from further violations of

these parts and any other such relief the court may deem just and proper.

                                             COUNT II
                                     (Violation of the FCCPA)

        43.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through thirty-nine

(39) as if fully set forth herein.

        44.     At all times relevant to this action Defendant is subject to and must abide by the

laws of the State of Florida, including Florida Statute § 559.72.




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        45.     Defendant has violated Florida Statute §559.72(7) by willfully communicating

with the debtor or any member of her or his family with such frequency as can reasonably be

expected to harass the debtor or her or his family.

        46.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of her or

his family.

        47.     Defendant has violated Florida Statute §559.72(9) by attempting to enforce a debt

when such person knows that the debt is not legitimate or assert the existence of some other legal

right when such person knows the right does not exist.

        48.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against HOVG, LLC d/b/a BAY AREA CREDIT SERVICE, LLC for statutory

damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

                                            COUNT III
                                     (Violation of the FDCPA)

        49.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through thirty-nine

(39) as if fully set forth herein.

        50.     At all times relevant to this action Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

        51.     Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in conduct the

natural consequence of which is to harass, oppress, or abuse any person in connection with the

collection of a debt.

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       52.     Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to ring or

engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.

       53.     Defendant has violated 15 U.S.C. § 1692(f) by using unfair and unconscionable

means to collect or attempt to collect any debt.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against HOVG, LLC d/b/a BAY AREA CREDIT SERVICE, LLC for statutory

damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

                                                   Respectfully submitted,


                                                       /s/ Jason R. Derry, Esquire
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